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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                           MEMORANDUM OPINION
                                                   AND ORDER
                                             Crim. No. 19-103 (01) (MJD/ECW)
Anthony Akemu Abari,

      Defendant.
_______________________________________________________________

      Justin A. Wesley, Assistant United States Attorney, Counsel for Plaintiff.

      Rick E. Mattox, Counsel for Defendant.
_______________________________________________________________

      This matter is before the Court on Defendant’s Second Motion for Release

From Custody Pending Trial. (Doc. No. 295.)

I.    Background

      Defendant was charged in the Indictment with possession with the intent

to distribute controlled substances, specifically Fentanyl and Heroin, a felon in

possession of a firearm. On April 22, 2019, the Magistrate Judge held a

detention hearing, and by Order dated May 13, 2019, found that Defendant had

not rebutted the presumption of detention in this case and that there were no


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conditions or combination of conditions that would reasonably assure his

presence at future court proceedings or that would assure the safety of the

community.      (Doc. No. 28.)

        In the Superseding Indictment filed on August 13, 2019, Defendant was

charged with conspiracy to distribute controlled substances, specifically

Fentanyl, two counts of possession with the intent to distribute controlled

substances, specifically Fentanyl and Heroin, and felon in possession of a

firearm.

        On April 12, 2020, Defendant filed a motion to reconsider his detention in

light of the COVID-19 pandemic, alleged government misconduct and that he is

not receiving proper medical care.    The Magistrate Judge issued an Order on

May 4, 2020 denying the motion to reconsider.     (Doc. No. 215.)   Defendant

appealed that Order and the Court denied the appeal by Order dated June 4,

2020.    (Doc. No. 241.)

        In the motion for reconsideration and appeal, Defendant argued, in part,

that the Sherburne County Jail failed to provide him with proper medical care by

failing to provide him a CPAP machine, by providing him Symbicort instead of



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Dulera for his asthma and based on his concerns regarding the COVID-19

pandemic and the risks it poses based on his medical condition.       Although the

Court denied Defendant’s motion for pretrial release, the Court did order the

U.S. Marshal’s Service to provide Defendant a CPAP machine if one had not

been provided to date. (Doc. No. 241 at 16.)

      Defendant now asks the Court to consider a renewed motion for release

pending trial.

II.   Standard

      The Bail Reform Act creates a rebuttable presumption that “no condition

or combination of conditions will reasonably assure the appearance of the person

as required and the safety of the community” when there is probable cause to

believe a defendant committed a certain offense, including “an offense for which

a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act.”    United States v. Boykins, 316 F. Supp.3d 434, 436

(D.D.C. 2018) (citing 18 U.S.C. ' 3142(e)(3)(A)).   In this case, there is a rebuttable

presumption in favor of detention as Defendant meets the criteria in 18 U.S.C. §

3142(e)(3)(A) because Defendant has been charged with offenses which carry a



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maximum sentence of ten years or more under the Controlled Substances Act.

      In making the determination whether detention is appropriate, the Court

considers the following factors:

      (1) The nature and circumstances of the offense charged, including
      the fact that the crime charged is an offense listed in section
      2332b(g)(5)(B) for which a maximum term of imprisonment of 10
      years or more is prescribed;

      (2)   the weight of the evidence against the person;

      (3)   the history and characteristics of the person, includingB

             (A) the person=s character, physical and mental condition,
             family ties, employment, financial resources, length of
             residence in the community, community ties, past conduct,
             history relating to drug or alcohol abuse, criminal history, and
             record concerning appearance at court proceedings; and
             (B) whether, at the time of the current offense or arrest, the
             person was on probation, on parole, or on other release
             pending trial, sentencing, appeal, or completion of sentence
             for an offense under Federal, State, or local law; and

      (4) the nature and seriousness of the danger to any person or the
      community that would be posed by the person=s release.

18 U.S.C. ' 3142(g).

      Pursuant to 18 U.S.C. § 3142(f)(2)(B), the court may reopen the issue of

pretrial detention:



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       at any time before trial if the judicial officer finds that information exists
       that was not known to the movant at the time of the hearing and that has a
       material bearing on the issue of whether there are conditions of release
       that will reasonably assure the appearance of such person as required and
       the safety of any person and the community.

III.   Analysis

       Defendant argues the Court should consider both the total harm and

benefits to the detainee and society that the continued detention will yield,

relative to the heightened risks posed to the detainee.   He asserts he is not a

flight risk or a danger to the community, as evidenced by the fact that he made

his court appearances in the January 2019 original state court prosecution and

that he even returned to Minnesota from Nevada to make court appearances.

       Defendant further asserts his Pretrial Risk Assessment was 12, with a Risk

Category 5, which rebuts any presumption for detention because in that

category, eighty percent of defendants appear for court and do not have a new

criminal arrest.

       The government responds that Defendant is merely rehashing the same

arguments previously made and rejected by the Court.        With regard to the

CPAP machine, the government asserts that although he claims he needs a CPAP



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machine, Defendant has failed to provide any medical records concerning the

need for such machine.    One of the reasons Defendant was moved to the

Douglas County Jail was to facilitate a sleep study, which is a prerequisite to the

U.S. Marshals providing a CPAP machine to an inmate.       (Attachment 1 (Email

from Brian Smith).)

      As to his claim that jailers and inmates are not wearing masks, the

government asserts the claims are false, referring to the Smith email.    (Id.)

According to Smith, all inmates and staff are required to wear masks and the

only place inmates do not have to wear masks is in their assigned cell.    Further,

the Jail has upgraded their camera system to send notifications if it detects

anyone not wearing a mask.     (Id.)

      With regard to COVID-19 infections, the government reports that one

female inmate tested positive, causing the entire female population to be tested

and there were no other positive test results.   Two staff members tested positive

and were placed on home quarantine for 14 days.      Staff that came into contact

with those that tested positive were tested, and they had negative results.




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        The Court has reviewed the submissions of the parties and finds that

Defendant has failed to demonstrate to the Court that that new information

exists that has a material bearing on the issue of whether there are conditions of

release that will reasonably assure the appearance of such person as required and

the safety of any person and the community.     See 18 U.S.C. § 3142(f)(2)(B).

        Accordingly,

        IT IS HEREBY ORDERED that Defendant’s Second Motion for Release

From Custody Pending Trial (Doc. No. 295) is DENIED.

Date:     October 2, 2020

                                      s/ Michael J. Davis
                                      Michael J. Davis
                                      United States District Court




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